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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)
                                                               Hearing Date: May 17, 2023 at 1:00 p.m. ET
                                                               Obj. Deadline: May 10, 2023 at 4:00 p.m. ET




                  MOTION OF DEBTORS FOR ENTRY OF AN ORDER
          (I)(A) ESTABLISHING DEADLINES FOR FILING NON-CUSTOMER
         AND GOVERNMENT PROOFS OF CLAIM AND PROOFS OF INTEREST
             AND (B) APPROVING THE FORM AND MANNER OF NOTICE
                   THEREOF AND (II) GRANTING RELATED RELIEF
    NOTICE TO ALL FTX CUSTOMERS: THIS MOTION DOES NOT ESTABLISH THE
     DEADLINE FOR FILING A PROOF OF CLAIM ON ACCOUNT OF CUSTOMER
     CLAIMS. A BAR DATE DEADLINE TO FILE CUSTOMER PROOFS OF CLAIM
     WILL BE SEPARATELY REQUESTED AND ESTABLISHED, AND CUSTOMERS
     WILL BE SERVED WITH NOTICE OF THAT DEADLINE. IN THE MEANTIME,
         VISIT HTTPS://RESTRUCTURING.RA.KROLL.COM/FTX/ FOR MORE
      INFORMATION CURRENTLY AVAILABLE ABOUT THE PROOF OF CLAIM
                          PROCESS FOR CUSTOMERS.

                  FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(collectively, the “Debtors”) 2 hereby submit this motion (this “Motion”) for entry of (i) an order,

substantially in the form attached hereto as Exhibit A (the “Order”), pursuant to sections 105(a),

502(b)(9) and 503(b)(9) of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the



1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
     and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
     the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
     complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https:// https://restructuring.ra.kroll.com/ftx. The principal place of business of Debtor Emergent Fidelity
     Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and
     Barbuda.
2
     For the avoidance of doubt, this Motion only covers FTX Trading Ltd. and its affiliated debtors and
     debtors-in-possession but does not include Debtor Emergent Fidelity Technologies Ltd.


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“Bankruptcy Code”), rules 2002, 3003(c)(3) and 9007 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rules 2002-1, 3001-1 and 3003-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), (a) establishing a bar date to file proofs of claim for Non-

Customer Claims (as defined below) and proofs of interest, (b) establishing a bar date by which

governmental units must file proofs of claim and (c) approving the form and manner of notice,

and (ii) granting related relief. In support of this Motion, the Debtors respectfully state as

follows:

                                            Background

                  1.   On November 11 and November 14, 2022 (as applicable, the “Petition

Date”), the Debtors filed with the United States Bankruptcy Court for the District of Delaware

(the “Court”) voluntary petitions for relief under the Bankruptcy Code. The Debtors continue to

operate their businesses and manage their properties as debtors-in-possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. Joint administration of the Debtors’ cases

(the “Chapter 11 Cases”) was authorized by the Court by entry of an order on November 22,

2022 [D.I. 128]. On December 15, 2022, the Office of the United States Trustee for the District

of Delaware (the “U.S. Trustee”) appointed an Official Committee of Unsecured Creditors (the

“Committee”) pursuant to section 1102 of the Bankruptcy Code [D.I. 231].

                  2.   Additional factual background relating to the Debtors’ businesses and the

commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of Edgar W.

Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the




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Supplemental Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the

Supplemental Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].

                                                  Jurisdiction

                  3.      The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicate for the relief requested herein is sections 105(a), 502(b)(9) and

503(b)(9) of the Bankruptcy Code, Bankruptcy Rules 2002, 3003(c)(3) and 9007 and Local

Rules 2002-1, 3001-1 and 3003-1. Pursuant to Local Rule 9013-1(f), the Debtors consent to the

entry of a final order or judgment by the Court in connection with this Motion to the extent it is

later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments consistent with Article III of the United States Constitution.

                                               Relief Requested

                  4.      By this Motion, the Debtors request entry of the Order, substantially in the

form attached hereto as Exhibit A, (a) establishing the general non-customer bar date (the

“General Non-Customer Bar Date”) to file proofs of claim for Non-Customer Claims (as defined

below), requests for payment under section 503(b)(9) of the Bankruptcy Code (a “503(b)(9)

Claim”) 3 and proofs of interests in these Chapter 11 Cases, subject to certain exceptions

described herein, (b) establishing the bar date (the “Governmental Bar Date”) by which

governmental units must file proofs of claim, (c) establishing the bar date (the “Amended


3
    “503(b)(9) Claims” are claims on account of goods received by a Debtor within 20 days before the Petition
    Date, where such goods were sold to the Debtor in the ordinary course of such Debtor’s business, and entitled to
    administrative expense priority pursuant to section 503(b)(9) of the Bankruptcy Code. See 11 U.S.C.
    § 503(b)(9).
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Schedules Non-Customer Bar Date”), in the event that any of the Debtors file amended

schedules of assets and liabilities and statements of financial affairs (collectively, the

“Schedules”), by which claimants or equity holders, other than customers, adversely impacted

must file proofs of claim or proofs of interests, as applicable, on account of such amended

Schedules (d) establishing the bar date (the “Rejection Bar Date” and, together with the General

Non-Customer Bar Date, Amended Schedules Non-Customer Bar Date and Governmental Bar

Date, the “Bar Dates”) by which claimants who hold claims, other than Customer Claims, arising

from the rejection of an executory contract or unexpired lease must file proofs of claim and (e)

approving the form and manner of notice of the Bar Dates.

                  5.      By this Motion, the Debtors only seek to establish the Bar Dates for

503(b)(9) Claims, claims of governmental units, all claims (as defined in section 101(5) of the

Bankruptcy Code) that arose or are deemed to have arisen, prior to the Petition Date that are not

Customer Claims (as defined below) (the “Non-Customer Claims”), and for proofs of interest.

By this Motion, the Debtors do not seek to establish a bar date for filing of proofs of claim for

“Customer Claims,” 4 which means any claim (as defined in section 101(5) of the Bankruptcy

Code) of any kind or nature or whatsoever, whether arising in law or equity, contract or tort,

under the Bankruptcy Code, federal or state law, rule or regulation, common law, or otherwise,

in each case, held by a Customer (as defined below) against any of the Debtors arising out of or

related to the loss of a Customer Entitlement (as defined below) in a Customer Account (as

defined below) as of the Petition Date or arising out of or related to activities of such Customer




4
    As of the date of this filing, the Debtors are continuing to discuss the definition of “Customer Claims” with the
    Committee. The Committee does not yet agree with the Debtors regarding the definition and the parties are
    continuing to work consensually and hope to reach a resolution in advance of the hearing.

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on any FTX Exchange (as defined below). “Customer” means any person or entity 5 that held a

Customer Account as of the Petition Date. “Customer Account” means an account with respect

to any FTX Exchange, which account reflects a Customer Entitlement. “Customer Entitlement”

means any right, title or interest in or claim to any cash, cryptocurrency, digital assets or other

asset. “FTX Exchange” means FTX.com, FTX.US, FTX Trading Ltd., d/b/a “FTX”, West

Realm Shires Services Inc. d/b/a “FTX US”, K-DNA Financial Services Ltd. d/b/a “FTX EU”,

Quoine Ptd. Ltd., FTX Japan K.K. and FTX Turkey Teknoloji Ve Ticaret A.S or any other

digital asset trading platform operated by any Debtor. The Debtors, in consultation with the

Committee, will separately seek approval of a bar date for Customers to file proofs of claims on

account of Customer Claims.

A.       Establishment of Bar Dates

                  6.       The Debtors propose to establish the following deadlines for filing proofs

of claim solely with respect to Non-Customer Claims and proofs of interest in these Chapter 11

Cases:

                       a. General Non-Customer Bar Date. The Debtors propose that any entity (i)
                          holding a Non-Customer Claim against any of the Debtors be required to
                          file a proof of claim and/or (ii) holding an equity interest, in one or more
                          of the Debtors be required to file a proof of interest, in each case on or
                          before June 30, 2023, at 4:00 p.m., Eastern Time, subject to the
                          exceptions described herein.

                           With respect to claims, this proposed General Non-Customer Bar Date
                           applies to all entities holding Non-Customer Claims against any of the
                           Debtors arising (or deemed to have arisen) prior to the Petition Date, and
                           applies to all types of Non-Customer Claims arising prior to the Petition
                           Date, including secured claims, unsecured priority claims, and unsecured
                           nonpriority claims, subject to the exceptions described herein. For the
                           avoidance of doubt, the proposed General Non-Customer Bar Date applies
                           to all 503(b)(9) Claims.


5
     As used herein, the term “entity” has the meaning given to it in section 101(15) of the Bankruptcy Code and
     includes, among other things, “persons” as such term is defined in section 101(41) of the Bankruptcy Code.
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                          For the avoidance of doubt, claimants with claims arising from an
                          executory contract or unexpired lease previously rejected pursuant to a
                          Court order must file a proof of claim on or before the General Non-
                          Customer Bar Date.

                          As detailed herein, the Debtors propose to provide at least 37 days’ notice
                          of the General Non-Customer Bar Date and other Bar Dates to all entities
                          that may be required to file a proof of claim or proof of interest.

                       b. Governmental Bar Date. In accordance with section 502(b)(9) of the
                          Bankruptcy Code and Bankruptcy Rule 3002(c)(1), the Debtors propose
                          that any governmental unit (as defined in section 101(27) of the
                          Bankruptcy Code) with a Non-Customer Claim against any of the Debtors
                          be required to file a proof of claim on or before September 29, 2023, at
                          4:00 p.m., Eastern Time.

                          This proposed Governmental Bar Date applies to all types of Non-
                          Customer Claims by any foreign or domestic governmental unit against
                          any of the Debtors arising prior to the Petition Date, including secured
                          claims, unsecured priority claims and unsecured non-priority claims.

                       c. Amended Schedules Non-Customer Bar Date. The Debtors propose that
                          any claimant holding a Non-Customer Claim or any holder of an equity
                          interest adversely affected by an amendment of or supplement to the
                          Schedules be required to file a proof of claim or proof of interest on or
                          before the date that is the later of: (a) the General Non-Customer Bar
                          Date and (b) 4:00 p.m., Eastern Time, on the date that is 30 days after
                          the date that notice of the applicable amendment of or supplement to
                          the Schedules is served on such entity.

                          The Debtors will provide notice of any amendment of or supplement to the
                          Schedules to the holders of any Non-Customer Claims and holders of
                          equity interests affected by such amendment or supplement, and will
                          provide such holders with notice of the applicable Amended Schedules
                          Non-Customer Bar Date.

                       d. Rejection Bar Date. The Debtors propose that any claimant holding Non-
                          Customer Claims arising from the rejection of an executory contract or
                          unexpired lease must file a proof of claim based on such rejection on or
                          before the date that is the later of (a) the General Non-Customer Bar
                          Date and (b) 4:00 p.m., Eastern Time, on any date the Court may fix
                          in the applicable order authorizing such rejection, and, if no such date
                          is provided, 30 days from the date of entry of such order. For the
                          avoidance of doubt, claimants with claims arising from an executory
                          contract or unexpired lease previously rejected pursuant to a Court order


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                           must file a proof of claim on or before the General Non-Customer Bar
                           Date.

                           The Debtors will provide notice of the Rejection Bar Date to the contract
                           or lease counterparty whose contract or lease is being rejected at the time
                           the Debtors reject such executory contract or lease.

B.       Entities Required to File Proofs of Claim or Proofs of Interest by the General Non-
         Customer Bar Date

                  7.       The Debtors propose that the following entities be required to file proofs

of claim and proofs of interest on or before the General Non-Customer Bar Date (or, as

applicable, the Amended Schedules Non-Customer Bar Date, the Rejection Bar Date or the

Governmental Bar Date), unless the Bar Dates are inapplicable pursuant to an exception

described in paragraph 9 below:

                           a.       any entity that holds an equity interest in any of the Debtors and is,
                                    to that entity’s knowledge, either not listed or, in such entity’s
                                    view, incorrectly listed in the Lists of Equity Holders [D.I. 450]
                                    (the “Equity Lists”) must file a proof of interest on account of the
                                    ownership of such equity interest; 6

                           b.       any entity whose prepetition Non-Customer Claim is not listed in
                                    the applicable Debtor’s Schedules, or is listed as disputed,
                                    contingent or unliquidated;

                           c.       any entity that believes its prepetition Non-Customer Claim has
                                    been improperly classified or listed in an incorrect amount in the
                                    Debtors’ Schedules, and seeks to amend the classification and/or
                                    amount of such claim in the Schedules;




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     Because portions of the Equity Lists were filed under seal, when the Debtors serve all known equity interest
     holders, the Debtors also will provide such holders with their holdings as listed in the Equity Lists.

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                        d.     any entity that believes its prepetition Non-Customer Claim as
                               listed in the Schedules is not an obligation of the specific Debtor
                               identified in the Schedules, and seeks to amend the Schedules to
                               indicate that such claim is a claim against or interest in a different
                               Debtor; and

                        e.     any entity asserting a prepetition Non-Customer Claim that is
                               allowable under section 503(b)(9) of the Bankruptcy Code as an
                               administrative expense in these Chapter 11 Cases.

                  8.    The Debtors also propose that a proof of interest must be filed by the

holder of the equity interest in the Debtor(s) or an authorized representative of such holder. If a

proof of interest is submitted by an authorized representative of the equity interest holder, the

Debtors propose that such representative state the basis for such authorization. Finally, the

Debtors propose that any entity seeking to file a proof of interest on behalf of an equity interest

holder without express written authorization from such holder must seek authorization from the

Court prior to the General Non-Customer Bar Date to do so.

C.       Entities Not Required to File Proofs of Claim or Proofs of Interest by the Bar Dates

                  9.    In accordance with Bankruptcy Rule 3003(c)(2), the Debtors propose that

any entity, other than those listed below, that holds any equity interest in or Non-Customer

Claim against any Debtor in these Chapter 11 Cases be required to submit a proof of claim or

proof of interest by the applicable Bar Date. The Debtors propose that the following entities are

not required to submit a proof of claim or interest in these Chapter 11 Cases on or prior to the

applicable Bar Date:




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                       a.   any entity holding a Customer Claim (such Customer Claims shall
                            be subject to a separate bar date that is not the subject of this
                            Motion);

                       b.   any entity on the Equity Lists who agrees with the equity holdings
                            set forth in the Equity Lists;

                       c.   any entity that has already properly filed a Non-Customer Claim
                            against the Debtors with either the clerk of the Bankruptcy Court
                            in the District of Delaware (the “Clerk of Court”) or Kroll
                            Restructuring Administration LLC (the “Noticing and Claims
                            Agent”) in a form substantially similar to Official Bankruptcy
                            Form No. 410 or a proof of interest with the Clerk of Court or
                            Noticing and Claims Agent (unless such entity wishes to assert the
                            Non-Customer Claim against or equity interest in a Debtor not
                            identified in the prior proof of claim or proof of interest or in a
                            different amount or classification than the prior proof of claim or
                            proof of interest, in which case an additional proof of claim or
                            proof of interest, as applicable, must be filed);

                       d.   any entity (i) whose claim is listed on the Schedules filed by the
                            Debtors, and (ii) whose claim is not scheduled as “disputed,”
                            “contingent,” or “unliquidated”; (iii) who agrees with the amount,
                            nature, and priority of the claim as set forth in the Schedules and
                            (iv) who does not dispute that the claim is an obligation only of the
                            specific Debtor against which the claim is listed in the Schedules;

                       e.   any entity holding any claim or equity interest that has previously
                            been allowed by order of this Court;

                       f.   any entity that has been paid in full by any of the Debtors;

                       g.   any entity with respect to a claim or equity interest for which a
                            different deadline has previously been fixed by this Court;

                       h.   any Debtor that holds a claim against or equity interest in another
                            Debtor (whether directly or indirectly);

                       i.   any entity that holds a claim allowable under sections 503(b) and
                            507(a)(2) of the Bankruptcy Code as an expense of administration
                            incurred in the ordinary course (other than a claim arising under
                            section 503(b)(9) of the Bankruptcy Code);

                       j.   any entity holding administrative expense claims for postpetition
                            fees and expenses of professionals retained in these Chapter 11


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                                   Cases allowable under section 330, 331 and 503(b) of the
                                   Bankruptcy Code;

                          k.       any entity that is exempt from filing a proof of claim or proof of
                                   interest pursuant to an order of the Court in these Chapter 11
                                   Cases; and

                          l.       any entity holding a claim or equity interest solely against a non-
                                   Debtor entity.

                  10.     For the avoidance of doubt, nothing contained herein is intended as, or

should be construed as, an admission or stipulation of the validity of any claim against or equity

interest in any Debtor, any assertion made therein or herein, or a waiver of any Debtor’s rights to

dispute any claim or equity interest or assert any cause of action or defense against any party.

D.       The Proof of Claim Form and Proof of Interest Form and Requirements for Submitting
         Proofs of Claim for Non-Customer Claims and Proofs of Interest

                  11.     The Debtors propose to serve on all known entities with a known service

address holding potential prepetition Non-Customer Claims a proof of claim form (the “Proof of

Claim Form”), substantially in the form attached as Exhibit 1 to the Order. The proposed Proof

of Claim Form is based on Official Bankruptcy Form 410 and has been modified as follows:

                          a.       to the extent any Non-Customer Claim is denominated in
                                   cryptocurrency(ies), such Non-Customer Claim must include the
                                   number of units of each cryptocurrency and shall not be required to
                                   include a dollar amount on account of such Non-Customer Claim; 7

                          b.       to the extent any Non-Customer Claim is denominated in a foreign
                                   currency(ies), such Non-Customer Claim must include (i) the
                                   applicable foreign currency(ies), (ii) the claim amount in the
                                   foreign currency(ies), (iii) the exchange rate(s) to U.S. dollars and
                                   (iv) the claim amount converted to U.S. dollars using the proposed
                                   exchange rate(s);

                          c.       each claimant with a 503(b)(9) Claim will be able to submit their
                                   claim under the Proof of Claim Form by checking a box indicating

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     The Debtors, in consultation with the Committee, will propose a cryptocurrency conversion chart, which will be
     used in connection with valuing all cryptocurrency claims asserted against the Debtors.

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                                 that their claim arises under section 503(b)(9) of the Bankruptcy
                                 Code; and

                        d.       each claimant will be able to indicate on the Proof of Claim Form
                                 against which Debtor such claimant has a claim.
                  12.   The Debtors propose to serve on all known entities with a known service

address holding an equity interest in any of the Debtors a proof of interest form (the “Proof of

Interest Form”), substantially in the form attached as Exhibit 2 to the Order. Because portions of

the Equity Lists were filed under seal, when the Debtors serve all known equity interest holders,

the Debtors also will provide such holders with their holdings as listed in the Equity Lists.

                  13.   The Debtors request that the Court require all proofs of claim with respect

to Non-Customer Claims and proofs of interest submitted in these Chapter 11 Cases be

consistent with the following:

                        a.       Contents. Each proof of claim or proof of interest must: (i) be
                                 written in English; (ii) conform substantially to the Proof of Claim
                                 Form (or Official Form 410) or Proof of Interest Form provided by
                                 the Debtors, as applicable; and (iii) unless otherwise consented to
                                 by the Debtors in writing, include supporting documentation unless
                                 voluminous, in which case a summary must be attached or an
                                 explanation provided as to why documentation is not available.

                                 In addition, each proof of claim for Non-Customer Claims (each, a
                                 “Non-Customer Proof of Claim”) must set forth, for any claim
                                 based on cryptocurrency(ies), the number of units of each
                                 cryptocurrency; such proof of claim is not required to include a
                                 dollar amount. For any claim based on foreign currency(ies), each
                                 Non-Customer Proof of Claim must set forth (i) the applicable
                                 foreign currency(ies), (ii) the claim amount in that foreign
                                 currency(ies), (iii) the exchange rate(s) from the foreign
                                 currency(ies) to U.S. dollars, and (iv) the amount of such claim
                                 converted to U.S. dollars using the exchange rate(s). In the case of
                                 any other claim, the proof of claim must set forth the amount of
                                 such claim in U.S. dollars.

                        b.       503(b)(9) Claims. In addition to the requirements set forth in
                                 paragraph (a) immediately above, any proof of claim asserting a
                                 503(b)(9) Claim must also: (i) include the value of the goods
                                 delivered to and received by the Debtors in the 20 days prior to the
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                            Petition Date; (ii) attach any documentation identifying the
                            particular invoices for which the 503(b)(9) Claim is being asserted;
                            (iii) state whether the amount asserted represents a combination of
                            goods and services and, if applicable, the portion that relates solely
                            to the value of the goods; and (iv) set forth whether any portion of
                            the 503(b)(9) Claim was satisfied by payments made by the
                            Debtors pursuant to any order of the Court authorizing the Debtors
                            to pay prepetition claims.

                       c.   Receipts. Parties submitting a proof of claim or proof of interest
                            through non-electronic means who wish to receive a receipt of
                            their proofs of claim or proofs of interest from Noticing and
                            Claims Agent must also include with their proof of claim or proof
                            of interest a copy of their proof of claim or proof of interest and a
                            self-addressed, stamped envelope. A party who files a proof of
                            claim or proof of interest electronically can verify receipt of the
                            claim or interest by reviewing on the Debtors’ Noticing and Claims
                            Agent website at https://restructuring.ra.kroll.com/ftx.

                       d.   Claims or Interests Against Specific Debtors. Each proof of claim
                            and proof of interest must specify by name and case number the
                            Debtor against which the claim or interest is submitted by either (i)
                            checking the applicable box at the top of the proposed Proof of
                            Claim Form or Proof of Interest Form or (ii) in the case of proofs
                            of claim and proofs of interest being electronically submitted,
                            selecting the applicable Debtor from a dropdown menu. A proof
                            of claim or proof of interest submitted under Case No. 22-11068 or
                            a proof of claim or proof of interest that does not identify a Debtor
                            will be deemed as submitted only against Debtor FTX Trading Ltd.
                            A proof of claim or proof of interest that names a subsidiary or
                            affiliate Debtor but is submitted under the joint administration case
                            number for these Chapter 11 Cases (Case No. 22-11068) will be
                            treated as having been submitted against the subsidiary or affiliate
                            Debtor with a notation that a discrepancy in the submission exists.
                            Any proof of claim or proof of interest purporting to indicate a
                            claim against or interest in more than one Debtor shall be deemed
                            filed only against the first listed Debtor. The Debtors reserve any
                            and all rights to reclassify such claims or interests that either do not
                            identify a Debtor, name a subsidiary or affiliate Debtor but are
                            submitted under the joint administration case number for these
                            Chapter 11 Cases (Case No. 22-11068) or that purport to indicate a
                            claim against or interest in more than one Debtor.

                       e.   Claims or Interests Against Multiple Debtors. If the holder of a
                            claim or interest asserts separate claims or interests against
                            different Debtors, a separate Proof of Claim Form or Proof of

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                                Interest Form must be submitted with respect to each claim or
                                interest.

                        f.      Delivery. Any proof of claim or proof of interest must be
                                delivered in a manner permitted by the Non-Customer Bar Date
                                Notice (as defined below) so as to be received no later than the
                                applicable Bar Date. The Debtors propose that claimants be
                                permitted to submit proofs of claim and proofs of interest (a)
                                electronically through the website of the Debtors’ Court-approved
                                Noticing and Claims Agent, using the interface available on such
                                website located at https://restructuring.ra.kroll.com/FTX/Home-
                                Index under the link entitled “Submit a Claim” or (b) by hand
                                delivery or mailing the proof of claim or proof of interest either by
                                U.S. Postal Service mail or overnight delivery on or before the
                                applicable Bar Date to FTX Trading Ltd. Claims Processing
                                Center, c/o Kroll Restructuring Administration LLC, 850 3rd
                                Avenue, Suite 412, Brooklyn, NY 11232. Proofs of claim and
                                proofs of interest will be deemed filed only when actually
                                received by the Noticing and Claims Agent on or before the
                                applicable Bar Date. Proofs of claim and proofs of interest may
                                not be delivered by facsimile, telecopy or electronic mail
                                transmission.

                        g.      For the avoidance of doubt, unless otherwise authorized by the
                                Court, the Noticing and Claims Agent is authorized and directed
                                to make public every proof of claim and proof of interest filed
                                pursuant to the Order, and the Noticing and Claims Agent, the
                                Debtors, their estates and their respective directors, officers,
                                employees, agents, and professionals shall have no liability for
                                making public any proof of claim or proof of interest filed
                                pursuant to the Order.

E.      Effect of Failure to File Proof of Claim or Proof of Interest

                14.     The Debtors propose that, absent further order of the Court, any entity that

is required to file a proof of claim or proof of interest, but fails to timely file such proof of claim

or proof of interest on or before the applicable Bar Date in accordance with the Order, be forever

barred, estopped and enjoined from: (a) asserting the applicable Non-Customer Claim against or

equity interest in the Debtors or their estates or property or (b) voting on, or receiving any

distribution under, any Chapter 11 plan in these Chapter 11 Cases, except to the extent that

(i) such claim is identified in the Schedules as an undisputed, noncontingent and liquidated claim
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(including with respect to the amount, nature or classification of such claim) or (ii) such equity

interest is listed on the Equity Lists.

F.       Non-Customer Bar Date Notice Package and Noticing Procedures

                  15.   The Debtors propose to serve on all known entities with a known service

address holding potential prepetition Non-Customer Claims or equity interests in any Debtor a

notice of the Bar Dates (the “Non-Customer Bar Date Notice”, and, together with the Proof of

Claim Form or the Proof of Interest Form, as applicable, the “Non-Customer Bar Date Notice

Package”), substantially in the form attached as Exhibit 3 to the Order, that: (i) identifies the Bar

Dates, (ii) includes detailed procedures for submitting a timely and accurate proof of claim or

proof of interest, (iii) lists the parties who are not required to submit a proof of claim or proof of

interest, (iv) describes the consequences of failing to submit a proof of claim or proof of interest

in accordance with the Order and (v) provides the name and telephone number of the Noticing

and Claims Agent, where questions may be addressed and from whom additional information

may be obtained.

                  16.   The Debtors submit that the proposed Non-Customer Bar Date Notice

Package complies with Local Rule 3003-1 and notifies all recipients that, among other things,

proofs of claim and proofs of interest must be filed on or before the applicable Bar Date. As

soon as practicable following the entry of the Order, but in any event no later than May 24, 2023,

the Debtors intend to serve, or cause to be served, the Non-Customer Bar Date Notice Package

by first-class United States mail, postage prepaid, or electronic service to following parties:

                        a.      the U.S. Trustee;

                        b.      counsel to the Committee;

                        c.      all persons or entities that have requested notice in these Chapter
                                11 Cases;

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                        d.     all persons or entities that have previously filed a proof of claim
                               with respect to a Non-Customer Claim or proof of interest in these
                               Chapter 11 Cases;

                        e.     all known creditors and potential holders of Non-Customer Claims
                               as of the date of entry of the Order, including those listed in the
                               Schedules as holding potential Non-Customer Claims against the
                               Debtors;

                        f.     all known holders of equity interests in any of the Debtors and any
                               known authorized representatives of such holders, including those
                               listed in the Equity Lists;

                        g.     all known parties to executory contracts and unexpired leases of
                               the Debtors;

                        h.     all known parties to pending litigation with the Debtors;

                        i.     the Internal Revenue Service and all known applicable taxing
                               authorities and other governmental units;

                        j.     all known applicable regulatory authorities that regulate the
                               Debtors’ businesses; and

                        k.     such additional persons and entities as deemed appropriate by the
                               Debtors.
                  17.   Each holder of a potential Non-Customer Claim listed in the Schedules

and each known holder of an equity interest listed in the Equity Lists will receive a Proof of

Claim Form or Proof of Interest Form, as applicable, with information regarding how such claim

or interest has been scheduled by the Debtors or listed in the Equity Lists, including: (a) the

identity of the Debtor against or in which the claim is asserted or equity interest is held; (b) the

amount of the claim, if any, or number of equity interests, if any; (c) whether the claim is

scheduled as disputed, contingent or unliquidated; and (d) whether the claim is scheduled as

secured, unsecured priority or unsecured nonpriority.

                  18.   The Debtors submit that the proposed Non-Customer Bar Date Notice

Package will provide all holders of Non-Customer Claims or equity interests in any Debtor(s)
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with ample time after the mailing of the Non-Customer Bar Date Notice Package to review the

Schedules and/or Equity Lists, as applicable, compare the information contained therein with

their own books and records and prepare and file proofs of claim or proofs of interest, if

necessary.

G.       Publication of the Non-Customer Bar Date Notice

                  19.   In light of the size, complexity and geographic diversity of the Debtors’

operations, there may exist Non-Customer Claims against or equity interests in the Debtors that

the Debtors have been unable to identify on the Schedules or the Equity Lists, or Non-Customer

Claims or equity interests where parties have been identified but the Debtors have been unable to

identify valid service addresses. Accordingly, the Debtors believe that it is necessary and

appropriate to provide notice of the Bar Dates to entities whose names and/or addresses are

unknown to the Debtors and to provide supplemental notice to known holders of potential Non-

Customer Claims or equity interests.

                  20.   Accordingly, pursuant to Bankruptcy Rule 2002(l), the Debtors propose to

provide notice of the Bar Dates, modified for publication substantially in the form attached to the

Order as Exhibit 4 (the “Publication Notice”), on one occasion in the New York Times at least 30

days before the General Non-Customer Bar Date.

                                          Basis for Relief

         A.       Cause Exists to Approve the Proposed Bar Dates Pursuant to Bankruptcy
                  Rule 3003(c)(3).
                  21.   Generally, claimants must submit a proof of claim or proof of interest to

assert a claim in a bankruptcy proceeding. See 11 U.S.C. § 501(a). Bankruptcy Rule 3003(c)(3)

governs the timing for submission of proofs of claim or proofs of interest in a chapter 11 case

and provides, in relevant part, that “[t]he court shall fix and for cause shown may extend the time

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within which proofs of claim or interest may be filed.” F.R.B.P. 3003(c)(3). General bar dates

are integral to the twin goals of chapter 11—preserving going-concerns and maximizing creditor

recovery value. See Bank of Am. Nat’l Trust & Sav. Assoc. v. 203 N LaSalle St. P’ship, 526 U.S.

434, 453 (1999) (identifying the two primary purposes of chapter 11 relief as (a) the preservation

of businesses as going concerns and (b) the maximization of assets available for the benefit of

unsecured creditors). Indeed, prolonged uncertainty regarding the aggregate liabilities of the

bankruptcy estate could delay or derail the development of a restructuring plan process to the

detriment of creditors and parties-in-interest. See In re Waterman S.S. Corp., 59 B.R. 724, 726

(Bankr. S.D.N.Y. 1986).

                  22.   To ensure that the Debtors are able to confirm and consummate a chapter

11 plan, the Debtors will require accurate information regarding the nature, validity, amount and

status of all claims and equity interests that will be asserted against their estates in these Chapter

11 Cases. Given the number of potential claimants and equity holders in these Chapter 11 Cases

and the well-documented lack of prepetition books and records, the Debtors submit that the

establishment of the Bar Dates will allow the Debtors to better understand the universe of

asserted claims and equity interests and to assess and formulate a Chapter 11 plan and claims

analysis and reconciliation process to address these claims and equity interests.

                  23.   To that end, requiring holders of Non-Customer Claims, 503(b)(9) Claims

and equity interests to assert such Non-Customer Claims or equity interests using the Proof of

Claim Form or Proof of Interest Form, as applicable, on or prior to the applicable Bar Dates, will

ensure that the Debtors have accurate information regarding the nature, validity, and amount of

such claims and interests while affording parties asserting such claims or interests appropriate

and adequate notice. Moreover, the Debtors submit that the proposed approach facilitates the


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most cost-effective and efficient claims process for such creditors or equity holders and helps

conserve estate resources to the benefit of the Debtors’ stakeholders. Accordingly, the Debtors

submit that cause exists to approve the Bar Dates.

         B.       The Proposed Procedures for Submitting Non-Customer Proofs of Claim and
                  Proofs of Interest Are Effectively Designed to Provide Both Notice and
                  Clarity to Creditors and Equity Holders and Should Be Approved.
                  24.   The Debtors designed procedures for equity interests in, and Non-

Customer Claims against, the Debtors that: (a) provide all potential claimants and equity holders

with ample notice and opportunity to submit proofs of claim or proofs of interest, (b) provide a

clear process for effecting the same, and (c) achieve administrative and judicial efficiency. The

proposed procedures are calibrated to achieve the goals of providing comprehensive notice and

clear instructions to all potential claimants and equity holders, on the one hand, and allowing

these Chapter 11 Cases to move forward as expeditiously as possible, on the other hand.

                  25.   Among other things, the proposed procedures provide clear instructions

for submitting proofs of claim and proofs of interest that are calculated to alleviate confusion or

uncertainty among potential claimants that might result in unnecessary protective proofs of claim

or proofs of interest or multiples of the same, which, in either event, would result in unnecessary

expense and delay in the claims reconciliation process. The proposed procedures will also

clearly communicate that the proposed General Non-Customer Bar Date is only for Non-

Customer Claims and equity interests and that a separate bar date will be set with respect to

Customer Claims. Indeed, the Debtors believe that the use of the Proof of Claim Form and Proof

of Interest Form will help mitigate claimants’ confusion and result in a claims reconciliation

process that is less burdensome, costly, and time-consuming for the Debtors and their customers

alike, all of which will inure to the benefit of these bankruptcy estates and their stakeholders.


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                  26.   Lastly, while the preferred approach for proofs of claim and proofs of

interest submission is via the electronic interface, the Debtors propose that holders of Non-

Customer Claims and equity interests may also be permitted to submit proofs of claim or proofs

of interest, as applicable, in person, by hand delivery, or via mail. Although completed proofs of

claim or proofs of interest submitted by facsimile or electronic mail will not be accepted, the

Debtors propose that proofs of interest and proofs of claim be permitted to be submitted

electronically using the interface available on the Noticing and Claims Agent’s website at

https://restructuring.ra.kroll.com/FTX/Home-Index. Similar electronic interfaces have been

utilized in other large bankruptcy cases. See In re Newage, Inc., No. 22-10819 (LSS) (Bankr. D.

Del. Nov. 9, 2022) [D.I. 272] (approving procedures for submission of proofs of claim through

electronic interface); In re Alex and Ani, LLC, No. 21-10918 (CTG) (Bankr. D. Del. July 14,

2021) [D.I. 188] (same); In re Cred Inc., No. 20-12836 (JTD) (Bankr. D. Del. Dec. 21, 2020)

[D.I. 271] (same); In re Blockfi Inc., No. 22-19361 (MBK) (Bankr. N.J. Jan. 30, 2023) [D.I. 440]

(same); In re Voyager Digital Holdings, Inc., No. 22-10943 (MEW) (Bankr. S.D.N.Y. Aug. 3,

2022) [D.I. 218] (same). Accordingly, the Debtors submit that the proposed procedures for

submitting proofs of claim and proofs of interest should be approved.

         C.       The Proposed Non-Customer Bar Date Notice Package Satisfies Due Process
                  Requirements and Should Be Approved.
                  27.   Bankruptcy Rule 2002(a)(7) requires debtors to provide claimants and

equity holders at least 21 days’ notice by mail of the time fixed for submitting proofs of claim

pursuant to Bankruptcy Rule 3003(c). In addition, Bankruptcy Rule 2002(l) provides that the

court may order notice by publication if it finds that notice by mail is impractical or that it is

desirable to supplement other notice. Bankruptcy Rule 9008 also provides that the court shall

determine the form and manner of publication notice, the newspapers used, and the frequency of

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publication. For notice purposes, bankruptcy law divides creditors into two types, “known” and

“unknown.”

                  28.   Due process requires that known creditors receive actual written notice of

a debtor’s bankruptcy filing and claims bar date. See Chemetron Corp. v. Jones, 72 F.3d 341,

346 (3d Cir. 1995); In re Nortel Networks, Inc., 531 B.R. 53, 63 (Bankr. D. Del. 2015) (citing

Chemetron); In re W.R. Grace & Co., 316 Fed. Appx 134, 136 (3d Cir. 2009) (same). For

unknown creditors, constructive notice by publication typically satisfies the requirements of due

process. See id; Nortel Networks, 531 B.R. 63 (citing Chemetron). As characterized by the

Supreme Court, a known creditor is one whose identity is either known or “reasonably

ascertainable by the debtor.” Tulsa Professional Collection Serv., Inc. v. Pope, 485 U.S. 478,

490 (1988). In contrast, an unknown creditor is one whose “interests are either conjectural or

future or, although they could be discovered upon investigation, do not in due course of business

come to knowledge [of the debtor].” See Chemetron, 72 F.3d 346 (quoting Mullane v. Central

Hanover Bank & Trust Co., 339 U.S. 306, 317 (1950)).

                  29.   Where a creditor is known to the debtor, due process requires that the

debtor take reasonable steps, such as direct mailing, to provide actual notice of the deadline for

submitting proofs of claim. See, e.g., In re Exide Techs., 600 B.R. 753,763-64 (Bankr. D. Del.

2019) (“The debtor must provide a known creditor with actual written notice. . . . For unknown

creditors, constructive notice . . . satisfies the requirements of due process.”) (citations omitted);

Pope, 485 U.S. at 491 (where creditor was known or “reasonably ascertainable,” then due

process only requires “notice by mail or other means as certain to ensure actual notice”). Where

a creditor is unknown to the debtor, due process requires only that the debtor take reasonable

steps, such as notice by publication, to provide constructive notice of the deadline for submitting


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proofs of claim. See, e.g., In re Exide Techs., 600 B.R. at 764 (“It is well-settled that

constructive notice of the claims bar date by publication, while less direct than actual notice,

generally satisfies the requirements of due process for unknown creditors.”) (citations omitted);

In re New Century TRS Holdings, Inc., 465 B.R. 38, 48 (Bankr. D. Del. 2012) (summarizing the

long-standing precedent behind constructive notice for unknown creditors).

                  30.   The Debtors submit that the proposed notice procedures and Non-

Customer Bar Date Notice Package satisfy due process under the Chemetron standard. The

Debtors will provide claimants holding Non-Customer Claims and equity holders reasonably

known to the Debtors with actual notice of the proposed Bar Dates. The Debtors propose to

serve the Non-Customer Bar Date Notice Package by no later than May 24, 2023, (37 days in

advance of the General Non-Customer Bar Date), on all claimants holding Non-Customer

Claims and all entities or individuals holding an equity interest in any of the Debtors identified

by the Debtors based on currently available books and records. As such, the Debtors will be

providing actual notice to creditors and equity holders reasonably known to them with no less

than 37 days’ notice of the General Non-Customer Bar Date, in satisfaction of Bankruptcy Rule

2002(a)(7).

                  31.   After the initial mailings of the Non-Customer Bar Date Notice Package,

the Debtors propose to make supplemental mailings of notices, including in the event that: (a)

notices are returned by the post office with forwarding addresses; (b) certain parties acting on

behalf of parties-in-interest (e.g., banks and brokers with respect to equity interest holders)

decline to pass along notices to these parties and instead provide their names and addresses to the

Debtors for direct mailing; and (c) additional potential claimants become known to the Debtors.

In these and similar circumstances, the Debtors request that the Court permit them to make


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supplemental mailings of the Non-Customer Bar Date Notice Package at any time up to 21 days

in advance of the applicable Bar Date, with any such mailings deemed timely and the applicable

Bar Date being enforced against the relevant parties.

                  32.   To provide unknown claimants holding Non-Customer Claims and equity

holders with constructive notice of the Bar Dates, the Debtors propose to publish the Publication

Notice, modified as necessary, in the New York Times and any other such publications that the

Debtors deem appropriate no later than 30 days prior to the General Non-Customer Bar Date. As

such, the Debtors will be providing unknown claimants holding Non-Customer Claims and

equity holders with at least 30 days’ constructive notice of the General Non-Customer Bar Date,

in satisfaction of Bankruptcy Rule 2002(a)(7). The Debtors submit that the proposed service and

publication of the Non-Customer Bar Date Notice is reasonably designed to reach all interested

parties in a cost-effective manner and satisfies the requirements of the relevant provisions of the

Bankruptcy Code, Bankruptcy Rules and the Local Rules. Accordingly, the Debtors respectfully

request that the Court deem the proposed form of Non-Customer Bar Date Notice and mailing

and publication thereof good, adequate, and sufficient notice of the Bar Dates.

                                               Notice

                  33.   Notice of this Motion has been provided to: (a) the U.S. Trustee;

(b) counsel to the Committee; (c) the Securities and Exchange Commission; (d) the Internal

Revenue Service; (e) the United States Department of Justice; (f) the United States Attorney for

the District of Delaware and (g) to the extent not listed herein, those parties requesting notice

pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief




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requested, no other or further notice need be provided.

                                        Reservation of Rights

                  34.    Nothing contained herein is intended or should be construed as (a) an

admission as to the validity or priority of any claim, equity interest or lien against the Debtors,

(b) a waiver of the Debtors’ rights to subsequently dispute such claim, equity interest or lien on

any grounds, (c) a promise or requirement to pay any prepetition claim, (d) an implication or

admission that any particular claim is of a type specified or defined in the Motion or the Order,

(e) a request or authorization to assume any prepetition agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code, (f) a waiver of the Debtors’ or any other party in interest’s

rights under the Bankruptcy Code or any other applicable law or (g) a waiver of the Debtors’

rights to reclassify proofs of claims or proofs of interests that either do not identify a Debtor,

name a subsidiary or affiliate Debtor but are submitted under the joint administration case

number for these Chapter 11 Cases (Case No. 22-11068) or that purport to indicate a claim

against or interest in more than one Debtor.

                  35.    Further, the Debtors reserve the right to seek a further order of this Court

to fix a deadline by which holders of claims not subject to the Bar Dates must file proofs of

claim against the Debtors or be forever barred from doing so.

                                              Conclusion

                  WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and

(b) grant such other and further relief as is just and proper.




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